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1
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     Sacramento, California 95814
3    Telephone: (916) 622-1703
4
5    Attorney for Defendant
     DANIEL AMOS ZOOK
6
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )      No. Cr. S. 05-539-WBS
                                     )
13                  Plaintiff,       )
                                     )      STIPULATION AND ORDER TO EXTEND
14        v.                         )      TIME TO POST PROPERTY BOND
                                     )
15   DANIEL AMOS ZOOK, et al.,       )
                                     )
16                  Defendant.       )
                                     )      Judge: Hon. Kimberly J. Mueller
17   _______________________________ )
18
19
           On December 20, 2005, this Court ordered Mr. Zook released on a
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     signature bond, with a property bond to be posted in two weeks (on
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     January 3, 2006).    Due to the holidays and the difficulty in getting
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     the proper documentation prepared on the Pennsylvania property, the
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     parties agree that the deadline for posting the property bond may be
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     \\\
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     \\\
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     \\\
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     \\\
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              Case 2:05-cr-00539-WBS Document 17 Filed 12/30/05 Page 2 of 2


1    extended two additional weeks, to January 17, 2006.
2
     Dated:    December 30, 2005
3                                               Respectfully submitted,
4    McGREGOR W. SCOTT
     United States Attorney
5
6
      /s/ Mary Grad by Chris Haydn-Myer               /s/ Chris Haydn-Myer
7    MARY GRAD                                       CHRISTOPHER HAYDN-MYER
     Assistant U.S. Attorney
8    Attorney for United States                      Attorney for DANIEL AMOS ZOOK
9
                                    O R D E R
10
     IT IS SO ORDERED.
11
12   Dated:    December 30, 2005.
13
14                                         ______________________________________
                                           UNITED STATES MAGISTRATE JUDGE
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     Stip/Order re: Property Bond               2
